           Case 2:07-cv-00118-MCE-DAD           Document 14        Filed 08/10/07     Page 1 of 2




 1

 2

 3

 4

 5

 6

 7

 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   ALEKSANDR YAKOVLEV,                                  No. 2:07-cv-00118-MCE-DAD-P

12                  Petitioner,

13           v.                                           ORDER

14   CHARLES DeMORE, et al.,

15                  Respondents.

16                                          /

17           Petitioner filed an amended petition for a writ of habeas corpus pursuant to 28 U.S.C. §

18   2241 challenging his detention at the Yuba County Jail by the U.S. Immigration and

19   Naturalization Service. The matter was referred to a United States Magistrate Judge pursuant to

20   28 U.S.C. § 636(b)(1)(B) and Local General Order No. 262.

21           On June 26, 2007, the magistrate judge filed findings and recommendations herein which

22   were served on petitioner and which contained notice to petitioner that any objections to the

23   findings and recommendations were to be filed within twenty days. Petitioner has not filed

24   objections to the findings and recommendations.

25   ///

26   ///

                                                     1
         Case 2:07-cv-00118-MCE-DAD              Document 14        Filed 08/10/07      Page 2 of 2




 1          Although it appears from the file that petitioner’s copy of the findings and

 2   recommendations were returned, petitioner was properly served. It is the petitioner’s

 3   responsibility to keep the court apprised of his current address at all times. Pursuant to Local

 4   Rule 83-182(f), service of documents at the record address of the party is fully effective.

 5          The court has reviewed the file and finds the findings and recommendations to be

 6   supported by the record and by the magistrate judge’s analysis. Accordingly, IT IS HEREBY

 7   ORDERED that:

 8          1. The findings and recommendations filed June 26, 2007, are adopted in full; and

 9          2. Respondents’ May 1, 2007 motion to dismiss is granted and this action is dismissed

10
      Dated: August 9, 2007
11
                                                   ________________________________
12                                                 MORRISON C. ENGLAND, JR.
                                                   UNITED STATES DISTRICT JUDGE
13

14

15

16

17

18

19

20

21

22

23

24

25

26

                                                      2
